                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES SECURITIES                         )
AND EXCHANGE COMMISSION,                         )
     Plaintiff,                                  )
                                                 )       Case No. 15-00819-CV-W-GAF
vs.                                              )
                                                 )
JOHN CLIFFORD WILLIAMS,                          )
     Defendant.                                  )

                              JUDGMENT IN A CIVIL ACTION

      Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

 X Decision by Court. This action has been considered and a decision has been rendered by
the Court.

       IT IS HEREBY ORDERED that the Motion by Plaintiff Securities and Exchange
Commission is GRANTED against Defendant John Clifford Williams.
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant John
Clifford Williams ("Defendant” or “Williams"), and his agents, servants, employees, attorneys,
and all persons in active concert or participation with him who receive actual notice of this Final
Judgment by personal service or otherwise are permanently restrained and enjoined from
violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the
"Exchange Act") [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §
240.10b-5], by using any means or instrumentality of interstate commerce, or of the mails, or of
any facility of any national securities exchange, in connection with the purchase or sale of any
security:
       (a) to employ any device, scheme, or artifice to defraud;
       (b) to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances under which
they were made, not misleading; or
       (c) to engage in any act, practice, or course of business which operates or would operate
as a fraud or deceit upon any person.




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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant
Williams officers, agents, servants, employees, and attorneys; and (b) other persons in active
concert or participation with Defendant Williams or with anyone described in (a).
       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendant
Williams, and his agents, servants, employees, attorneys, and all persons in active concert or
participation with him who receive actual notice of this Final Judgment by personal service or
otherwise are permanently restrained and enjoined from violating Section 17(a) of the Securities
Act of 1933 (the "Securities Act") [15 U.S.C. § 77q(a)] by, in the offer or sale of any security by
the use of any means or instruments of transportation or communication in interstate commerce
or by use of the mails, directly or indirectly:
       (a) to employ any device, scheme, or artifice to defraud;
       (b) to obtain money or property by means of any untrue statement of a material fact or
any omission of a material fact necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; or
       (c) to engage in any transaction, practice, or course of business which operates or would
operate as a fraud or deceit upon the purchaser.
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant
Williams’ officers, agents, servants, employees, and attorneys; and (b) other persons in active
concert or participation with Defendant Williams or with anyone described in (a).
       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendant
Williams shall pay disgorgement of $3,148,308, representing profits gained as a result of the
conduct alleged in the Complaint, together with prejudgment interest thereon in the amount of
$128,104.68, for a total of $3,276,412.68. Defendant shall satisfy this obligation by paying
$3,276,412.68 to the Securities and Exchange Commission within 14 days after entry of this
Final Judgment.
       Defendant Williams may transmit payment electronically to the Commission, which will
provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be made
directly from a bank account via Pay.gov through the SEC website at
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http://www.sec.gov/about/offices/ofm.htm. Defendant Williams may also pay by certified check,
bank cashier’s check, or United States postal money order payable to the Securities and
Exchange Commission, which shall be delivered or mailed to
       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

       and shall be accompanied by a letter identifying the case title, civil action number, and
name of this Court; John Clifford Williams as a defendant in this action; and specifying that
payment is made pursuant to this Final Judgment.
       Defendant Williams shall simultaneously transmit photocopies of evidence of payment
and case identifying information to the Commission’s counsel in this action. By making this
payment, Defendant Williams relinquishes all legal and equitable right, title, and interest in such
funds and no part of the funds shall be returned to Defendant Williams.
       The Commission shall hold the funds (collectively, the “Fund”) and may propose a plan
to distribute the Fund subject to the Court’s approval. The Court shall retain jurisdiction over the
administration of any distribution of the Fund. If the Commission staff determines that the Fund
will not be distributed, the Commission shall send the funds paid pursuant to this Final Judgment
to the United States Treasury.
       The Commission may enforce the Court’s judgment for disgorgement and prejudgment
interest by moving for civil contempt (and/or through other collection procedures authorized by
law) at any time after 14 days following entry of this Final Judgment. Defendant Williams shall
pay post judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendant
Williams shall pay a civil penalty in the amount of $ 150,000.00 to the Securities and Exchange
Commission pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section
21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. Defendant Williams shall make this
payment within 14 days after entry of this Final Judgment.
       Defendant Williams may transmit payment electronically to the Commission, which will
provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be made
directly from a bank account via Pay.gov through the SEC website at
http://www.sec.gov/about/offices/ofm.htm. Defendant Williams may also pay by certified check,

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Exchange Commission, which shall be delivered or mailed to
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name of this Court; John Clifford Williams as a defendant in this action; and specifying that
payment is made pursuant to this Final Judgment.
        Defendant Williams shall simultaneously transmit photocopies of evidence of payment
and case identifying information to the Commission’s counsel in this action. By making this
payment, Defendant Williams relinquishes all legal and equitable right, title, and interest in such
funds and no part of the funds shall be returned to Defendant Williams. The Commission shall
send the funds paid pursuant to this Final Judgment to the United States Treasury. Defendant
Williams shall pay post-judgment interest on any delinquent amounts pursuant to 28 USC §
1961.
        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this Court shall
retain jurisdiction over this action for all purposes, including to implement and enforce the terms
of this Final Judgment.


December 15, 2015                             Paige Wymore-Wynn
Dated                                         Acting Clerk of Court

December 15, 2015                             /s/ Terri Moore
Entered                                       (by) Deputy Clerk




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